






Opinion issued May 22, 2003









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00392-CV

____________


CLAUD HEAD, Appellant


V.


CELANESE INTERNATIONAL CORP. AND CELANESE LTD., Appellees






On Appeal from the 215th District Court

Harris County, Texas

Trial Court Cause No. 2002-17,078






MEMORANDUM OPINION

	Appellant has filed a motion to dismiss his appeal.  More than 10 days has
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(2).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Nuchia, and Keyes.


